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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

                               Case No. 6:18-cv-1684-Orl-41TBS

 KEESHA RICHARDSON, FIDELA
 DENNY, and MARIA HUMPHREYS,

       Plaintiffs,

 vs.

 OFFICE OF SEMINOLE COUNTY
 TAX COLLECTOR,

       Defendant.
                                                  /

   OBJECTION TO MAGISTRATE JUDGE’S ORDER DEYNING NON-PARTY RAY
   VALDES’ MOTION FOR PROTECTIVE ORDER IN REGARD TO SUBPOENA TO
     TESTIFY AT A DEPOSITION IN A CIVIL MATTER AND INCORPORATED
                        MEMORANDUM OF LAW

        Non-party, RAY VALDES (“Mr. Valdes”), by counsel and pursuant to Federal Rule of

 Civil Procedure 72(a), hereby files his Objection to the Order Denying Mr. Valdes’ Motion for

 Protective Order in regard to the Subpoena to Testify at a Deposition in a Civil Action, dated

 May 22, 2020 (Doc. 36), and states as follows:

                                   BACKGROUND FACTS

        This is a case for wrongful termination and employment discrimination filed by a group of

 Plaintiffs who were all previously employed by the Defendant, the Office of Seminole County Tax

 Collector (the “Defendant”). Mr. Valdes is the former Tax Collector for Seminole County who

 served as Tax Collector for Seminole County for 28 years until 2016 when he was defeated by Joel

 Greenberg (“Mr. Greenberg”) in a highly contested election. During the campaign Mr. Greenberg

 frequently made personal attacks and degrading public comments concerning Mr. Valdes. The
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 Plaintiffs all worked on Mr. Valdes’ re-election campaign.

         The Plaintiffs in this action, KEESHA RICHARDSON (“Ms. Richardson”), FIDELA

 DENNY (“Ms. Denny”), and MARIA HUMPHREYS (“Ms. Humphreys”) (collectively the

 “Plaintiffs”), were all terminated by Mr. Greenberg after he became the Tax Collector for Seminole

 County, and after Mr. Valdes had left office. Mr. Valdes was not, in any manner, involved in the

 decision to terminate any of the Plaintiffs. He was not consulted prior to their termination. He

 was not questioned prior to their termination. He was not involved in their termination. His only

 knowledge of their termination is second-hand and after-the-fact.

         Despite Mr. Valdes’ clear lack of personal involvement and lack of personal knowledge

 regarding Defendant’s termination of the Plaintiffs, Defendant has subpoenaed Mr. Valdes to testify

 at a deposition in this matter. On May 14, 2020, Mr. Valdes filed his Motion for Protective Order

 and Memorandum of Law in response to a Subpoena to Testify in a Civil Matter served by the

 Defendant (the “Motion”). (Doc. 26) Mr. Valdes argued that, as a former high-ranking public

 official, he was entitled to heightened protection from a harassing, irrelevant deposition. (Doc. 26, p.

 3-5) Further, Mr. Valdes argued that this heightened scrutiny requires the party seeking discovery

 to demonstrate good cause and the court must analyze whether the information to be gained from

 the deposition can be obtained from other sources. (Doc. 26, p. 3-5) Mr. Valdes also argued that he

 does not have any personal knowledge of the issues being litigated because, as indicated above, he

 was no longer serving as Tax Collector at the time that the events that gave rise to this action

 occurred. As such, he could not have any knowledge to justify why Mr. Greenberg decided to

 terminate the Plaintiffs.

         Defendant served its Response in Opposition to the Motion for Protective Order on May 18,



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 2020.1 (Doc. 28) Defendant argued that it should be entitled to depose Mr. Valdes because the

 Plaintiffs may call him as a witness, the Plaintiffs listed Mr. Valdes as person who may have

 knowledge of the issues their initial Rule 26 Disclosures (along with 10 other individuals), and

 because Mr. Valdes submitted a short affidavit on behalf of one of the Plaintiffs during an

 administrative proceeding.2 (Doc. 28, 2-5) However, the actual reason Defendant seeks to depose

 Mr. Valdes (which Plaintiffs alluded to in their Response) became clear in the “argument” portion

 of Defendant’s Response and at the hearing before the Magistrate Judge. Defendant claims that it

 should be entitled to depose Mr. Valdes regarding Mr. Valdes private business dealings including

 some alleged “purchase of tax certificates and tax deeds during his tenure as Tax Collector.” (Doc.

 28, p. 9) Also, with no citation or evidence to support such a statement, Defendant claimed that that

 Mr. Valdes was subject to an “ethics investigation” and that one of the Plaintiffs was “implicated”

 in this ethics investigation. 3 (Doc. 28, p. 9)

         It is no secret that these same smear tactics were used by Mr. Greenberg to attack Mr.



 1
   Plaintiffs also served their Response in Opposition to the Motion for Protective Order on May 18,
 2020. (Doc. 33) Plaintiffs argue that Mr. Valdes’ is an important witness to testify that the
 Plaintiffs were exemplary employees while they served under Mr. Valdes, and that they participated
 in his re-election campaign in 2016. (Doc. 33, p. 2) Plaintiffs also agreed with Mr. Valdes that
 Defendant is likely to try and harass Mr. Valdes and attempt to elicit testimony concerning matters
 that have no relevance to the issues being litigated. (Doc. 33, p.2) However, Plaintiffs did not
 address Mr. Valdes arguments regarding the heightened scrutiny afforded to current and former
 public officials, and did not provide any evidence or showing of an inability to obtain this
 information from other sources.
 2
   Defendant filed a copy of this affidavit as an exhibit to its Response. (Doc. 28-1) The affidavit,
 which is extremely brief, was filed on behalf of Plaintiff, Keesha Richardson, in an
 administrative proceeding to the State of Florida Commission of Human Relations more than 2
 years ago, and before this lawsuit was filed. The affidavit simply states that Keesha Richardson
 worked for Mr. Valdes while he was Tax Collector and that she was an exemplary employee.
 3
   Mr. Greenberg had a crony file a wholly false ethics complaint against Mr. Valdes during the
 campaign. The Florida Ethics Commission found no probable cause for any violation and
 completely exonerated Mr. Valdes. No Plaintiff was ever “implicated” and this is simply
 incorrect.
                                                   3
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 Valdes during the 2016 election campaign.         Despite Mr. Greenberg’s baseless and spurious

 campaign attacks, Mr. Valdes was never accused of violating any laws and never did anything

 illegal or unethical. Further, there is no evidence whatsoever that any Plaintiff was ever even

 investigated in association with Mr. Greenberg’s vicious and false campaign attacks. Defendant

 conveniently has resurrected these false allegations and now chooses to rely on these false

 statements as the alleged basis for the termination of two of the Plaintiffs despite the fact that this

 was not even mentioned to any of the Plaintiffs as a reason for their termination until well after the

 lawsuit was filed. (Doc. 1-2)

        In addition to being sued by three former managers (who are all minorities) it is a matter of

 public record that Mr. Greenberg’s time in office has been littered with controversial and devious

 conduct. He has been accused of making racists and defamatory social media posts, impersonating

 a law enforcement officer, having his excessive budget rejected by the Department of Revenue,

 soliciting a hacker to attack the county’s computers, trying to serve a trespass warrant on a county

 commissioner, and trying to abuse the power of his office to escape a traffic ticket.4 Mr. Greenberg

 was even rebuked by the Attorney General for the State of Florida for trying to issue badges to

 himself and his senior staff and openly carrying firearms around his office under the guise that he



 4
   See Martin E. Comas, “Group call on Seminole Tax Collector Joel Greenberg to resign for
 ‘Islamophobic’ Facebook post,” Orlando Sentinel, Aug. 20, 2018; Martin E. Comas, “Seminole
 Tax Collector Joel Greenberg has history of controversial social media posts,” Orlando Sentinel,
 Aug. 31, 2018; Martin E. Comas, “Seminole Tax Collector Joel Greenberg asks for
 'professional courtesy' after ticketed for speeding,” Orlando Sentinel, Jan. 24, 2018; Martin E.
 Comas, “Seminole Tax Collector Joel Greenberg budgets $106K on travel – much more than
 Orange, Lake, and Osceola,” Orlando Sentinel, Nov. 15, 2019; Lauren Ritchie, “Seminole tax
 collector Joel Greenberg accused of soliciting hacker to attack county computers,” Orlando
 Sentinel, Jan. 24, 2020; Dave McDaniel, “Seminole County tax collector accused of
 impersonating police officer,” wesh.com, Dec. 14, 2017; Martin E. Comas, “Seminole County
 Tax Collector Clashes with Commissioner Brenda Carey, bans her from his offices,” Orlando
 Sentinel, Aug. 8, 2017.
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 was a “revenue officer.”5 Defendant’s attempt to take Mr. Valdes’ deposition is just another

 “scorched earth” tactic to harass a former political opponent and an attempt to distract from his

 improper conduct in regard to the Plaintiffs. In reality, Mr. Valdes’ deposition is wholly

 unnecessary because when Mr. Greenberg decided to terminate the Plaintiffs shortly after taking

 office, he was in possession of all of the information he needed to come to that decision and defend

 that decision.6 There is simply no basis to allow Defendant to depose Mr. Valdes.

         The true reason for Defendant’s recent actions have come to light since entry of the Order.

 Intermediaries on behalf of, and political allies of, Mr. Greenberg have approached Mr. Valdes. Mr.

 Valdes was told that “they” could make this deposition “go away” and “take care of” the Plaintiffs if

 Mr. Valdes could convince Mr. Greenberg’s current opponent in the Republican primary to drop out

 of the race for Tax Collector. Although Defendant’s true motivations were not known at the time of

 the hearing before the Magistrate Judge, this Court must now intervene to avoid the abuse of the

 judicial system by Mr. Greenberg.

                                     PROCEDURAL HISTORY

         Plaintiffs filed their Complaint against Defendant in the 18th Judicial Circuit in and for

 Seminole County, Florida (Dkt. 1-2). The case was removed to federal court. Defendant filed its

 Answer and Affirmative Defenses on October 9, 2018 (the “Answer”). (Dkt. 2) In its Answer,

 Defendant asserts that the Plaintiffs were all terminated because they failed to perform their

 essential duties. (Dkt. 2)

         Further, Defendant did not even assert any factual allegation in any denial, or allege any fact


 5
   “Pam Bondi: Seminole Tax Collector Joel Greenberg and staff shouldn't open carry guns,”
 Orlando Sentinel, Jan 4, 2019.
 6
   Based on the Response filed by the Defendant, Mr. Greenberg admittedly lacked a legitimate
 basis to terminate any of the Plaintiffs. As such, Defendant is now attempting to drag Mr.
 Valdes into this case simply to subterfuge the real issues being litigated.
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 in any Affirmative Defense, in response to the Plaintiff’s Complaint that would require the

 testimony of Mr. Valdes. (Doc. 2) Defendant has not alleged that any of the Plaintiffs were

 terminated because of some alleged purchase of “tax certificates or tax deeds” or for working on the

 campaign of Mr. Valdes, or for an alleged “ethics investigation” or anything else involving Mr.

 Valdes    (Doc. 2) In fact, the only defense asserted by Defendant is that the Plaintiffs were

 terminated due to their “failure to perform the essential functions of their duties.” (Doc. 2, p. 5)

 Simply put, Defendant is basing its defense on conduct that occurred after Mr. Valdes left office.

          On May 14, 2020, Defendant served Mr. Valdes with an Amended Subpoena to Testify at a

 Deposition in a Civil Action (the “Subpoena”). Despite the continued issues surrounding the

 COVID-19 pandemic, the Subpoena requires that Mr. Valdes appear in-person for a deposition. In

 response to the Subpoena, Mr. Valdes filed his Motion seeking a protective order. On May 20,

 2020, a hearing was held by the Magistrate Judge on Mr. Valdes’ Motion. At the hearing,

 Defendant again raised arguments, unsupported by any evidence, that Mr. Valdes committed

 “ethical violations” while serving as Tax Collector, and they should be allowed to question him

 regarding his purchase of tax certificates. Plaintiffs, on the other hand, argued that any deposition of

 Mr. Valdes should be limited to the relevant issues, which is Plaintiffs’ performance under Mr.

 Valdes and Plaintiffs’ involvement in Mr. Valdes’ 2016 election campaign. Neither party presented

 any evidence to indicate that there is good cause to depose a former high-ranking public official,

 and did not present any evidence that this information could not be obtained from other persons or

 documents.

          On May 22, 2020, the Magistrate Judge issued an Order Denying Mr. Valdes’ Motion for

 Protective Order in full (the “Order”). (Doc. 36) The Order is clearly erroneous and contrary to law

 for several reasons. First, the Magistrate Judge failed to perform any analysis regarding the

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 arguments raised by Mr. Valdes concerning the heightened standard applied to depositions of

 current and former high-ranking officials. (Doc. 36) The Magistrate Judge did not determine if Mr.

 Valdes was entitled to heightened protection, did not determine if Defendant had exhibited “good

 cause” to depose a former high ranking official, and did not perform any analysis as to whether the

 information sought could be obtained from other persons. (Doc. 36) Second, the Magistrate Judge

 made no determination as to whether deposing Mr. Valdes was even relevant and proportional to the

 needs of the case. (Doc. 36) Instead, the Magistrate Judge made an unsupported factual finding in

 the Order that one of the Plaintiffs was “implicated in Mr. Valdes’ ethics investigation.” This is

 wholly incorrect and not supported by anything in the record (it is also outside the pleadings).

 Third, Defendant has not plead any defense that any of the Plaintiffs were terminated because of

 their alleged involvement with Mr. Valdes’ business dealings. (Doc. 2) Therefore, this cannot be a

 basis to find that Mr. Valdes has personal knowledge and should be compelled to testify when the

 record indicates that it is not at issue. Fourth, the Magistrate Judge failed to shield Mr. Valdes, a

 non-party, from having to disclose his personal financial information, which is not permissible

 discovery and for which Mr. Valdes has an expectation of privacy. Finally, the Magistrate Judge

 failed to consider and analyze whether appropriate limitations were proper to protect Mr. Valdes, a

 non-party, from harassment. As such, the Order is clearly erroneous and contrary to law and must

 be overturned, or in the alternative, vacated and reversed to limit any deposition to only the areas of

 inquiry, subject matter, and time period which are relevant to this action.

                                               Argument

 I.     THE MAGISTRATE JUDGE FAILED TO APPLY THE CORRECT STANDARD
        AFFORDED TO HIGH RANKING OFFICIALS AND FAILED TO DETERMINE
        IF THE REQUESTED DISCOVERY COULD BE OBTAINED FROM OTHER
        PERSONS.


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        The Magistrate Judge completely failed to apply the correct standard afforded to current

 and former public officials who are subjected to discovery. Mr. Valdes, as the former Tax

 Collector for Seminole County, Florida, and a former public official, is entitled to heightened

 scrutiny when it comes to deposition requests which require a showing of more than just mere

 relevance.   Courts frequently restrict parties from deposing high ranking officials without

 personal knowledge of the issues being litigated “because [such persons] are vulnerable to

 numerous, repetitive, harassing, and abusive depositions, and therefore need some measure of

 protection from the courts.” Gray v. Kohl, No. 07-10024, 2008 WL 1803643 (S.D. Fla. April 21,

 2008) (quoting Simon v. Pronational Ins. Co., No. 07-60757-CIV (S.D.Fla.2007)).

        For example, in Cruz v. Green, No.: 18-60995-CIV (S.D. Fla. 2019), the court in the

 Southern District of Florida ruled on a motion for protective order brought by former Broward

 County Sheriff Scott Israel, a non-party, relating to a request to depose him in a civil matter. The

 court extended the heightened protection afforded to public officials to include former public

 officials. The court applied the enhanced scrutiny analysis and required a showing of more than

 just relevance. Id. at 2-3. The court granted Mr. Israel’s request for protective order, and held

 that even if Mr. Israel did have any personal knowledge, the parties should first seek discovery

 from other sources, including lower ranking officials. Id. at 4.

        In this case, Mr. Valdes, the former Tax Collector and a constitutional officer (just like

 former Sheriff Israel in the Cruz case), is former high-ranking official entitled to additional

 protection from this type of discovery. The Order did not include any analysis or determination

 as to whether Mr. Valdes was entitled to heightened protection. (Doc. 36) The Order contained

 no finding as to whether the requested discovery could be obtained from other sources. (Doc.

 36) There is nothing in the record to indicate that the Defendant even sought discovery from

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 other sources such as other managers or employees. Instead, the Magistrate Judge simply stated

 that he found the Plaintiffs’ and Defendant’s arguments to be “persuasive.” (Doc. 36) Also, the

 Magistrate Judge did not even determine whether Mr. Valdes had personal knowledge of the

 “pertinent facts” which is a threshold issue to determine legal relevance.

        Mr. Valdes served as the Tax Collector for Seminole County, Florida, for nearly three

 decades, and received much media attention during his last re-election campaign due to the

 antics, negative public comments, and smear campaign run by Mr. Greenberg. The Magistrate

 Judge was required to provide Mr. Valdes with heightened protection, and not simply deny his

 Motion by accepting Plaintiffs’ and Defendant’s arguments that he has personal knowledge.

 Even if Mr. Valdes had knowledge of the events that occurred after he left office (which he does

 not), The Magistrate Judge should also have considered whether Defendant could obtain the

 requested testimony from other means, including the depositions of lower ranking employees

 who may actually have knowledge of the Plaintiffs’ job performance, which is the only thing

 relevant to the outcome of the case.     The Magistrate Judge made no such determination. As

 such, the Order entered by the Magistrate Judge is clearly erroneous and contrary to law.



 II.    EVEN IF MR. VALDES WAS NOT ENTITLED TO HEIGHTENED
        PROTECTION, THE MAGISTRATE JUDGE FAILED TO APPLY THE
        CORRECT STANDARD WHEN RULING ON A DISCOVERY MOTION AND
        ORDERED DISCOVERY OF FINANCIAL INFORMATION WHICH IS NOT
        PERMITTED.

        The Magistrate Judge failed to apply the correct standard when ruling on a discovery

 issue, and therefore, the Order is clearly contrary to law. Rule 26(b)(1) sets forth the scope of

 permissible discovery in this action and states in relevant part as follows:



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          Parties may obtain discovery regarding any nonprivileged matter that is relevant
          to any party's claim or defense and proportional to the needs of the case,
          considering the importance of the issues at stake in the action, the amount in
          controversy, the parties' relative access to relevant information, the parties'
          resources, the importance of the discovery, in resolving the issues, and whether
          the burden or expense of the proposed discovery outweighs its likely benefit.
          Information within this scope of discovery need not be admissible in evidence to
          be discoverable.


 Fed. R. Civ. P., 26(b)(1). In the Order, the Magistrate Judge made no determination that any

 testimony by Mr. Valdes would be relevant and proportional to the needs of the case, and neither

 of these elements are present here. (Doc. 36)

          A.      Mr. Valdes’ Testimony is not Relevant to any of the Claims or Defenses at
                  issue in this Litigation and the Magistrate Judge failed to make this
                  determination.


          Pursuant to FRCP Rule 26(b), the Magistrate Judge was required to determine if the

 deposition of Mr. Valdes is relevant to claims at issue. Fed. R. Civ. P., 26(b)(1). As explained

 above, and in Mr. Valdes’ Motion, the basis for the Plaintiffs’ allegations are that they were

 wrongfully terminated after Mr. Greenberg became Tax Collector. Mr. Valdes had already left

 office when the Plaintiffs were terminated. Mr. Valdes was not involved in the decision to

 terminate the Plaintiffs. Mr. Valdes was not present for any communications or discussions

 regarding the termination of the Plaintiffs. Mr. Valdes was not consulted regarding the decision

 to terminate the Plaintiffs.    In reality, the Plaintiffs were terminated simply because they

 previously worked for Mr. Valdes. 7 (Dkt. 1-2) Counsel for the Defendant confirmed this fact at

 the hearing on Mr. Valdes’ Motion, when he asserted that the reason the Plaintiffs were fired was

 because they worked for Mr. Valdes and Mr. Greenberg thought they were “tainted.”



 7
     It is only Mr. Greenberg who truly knows why they were fired, not Mr. Valdes.
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        Further, Mr. Valdes was not even identified by the Defendant in its Rule 26 Initial

 Disclosures. Mr. Valdes has no documents in regard to either party’s claim or defense. All

 employment records remain with Mr. Greenberg. Defendant has not even plead a defense that

 mentions Mr. Valdes. (Doc. 2) Defendant has not asserted any affirmative defense that involves

 Mr. Valdes. (Doc. 2) As such, there is no legal relevance to any testimony of Mr. Valdes. See

 Paxton v. Landesk Software, Inc., 332 F.R.D. 368 (M.D. Fla. 2019) (holding that the former

 employer failed to show how discovery sought from the former employee’s prior employers was

 relevant or proportional to the needs of employee’s discrimination case).

        The only reason Defendant seeks to depose Mr. Valdes is to create a side-show and hope

 that Mr. Valdes will ask Mr. Greenberg’s current political opponent to get out of the current race

 for Tax Collector. (Doc. 28, 9-10) Defendant seeks to pressure Mr. Valdes by threatening to

 interrogate Mr. Valdes regarding criticisms that allegedly surfaced in a campaign 4 years ago, as

 well as Mr. Greenberg’s personal beliefs (which have been rejected by the Florida Ethics

 Commission) that Mr. Valdes committed some “ethical violations.” None of this information is

 relevant, and its absurd to suggest that this was the reason any of these Plaintiffs were

 terminated. Mr. Greenberg is the only one who needs to testify about his investigation and the

 facts he considered before terminating his employees. Mr. Greenberg is simply carrying out a

 political vendetta against a former political rival, and create pressure on a current political rival,

 because Mr. Greenberg has no legitimate basis to support why he terminated the Plaintiffs.

        B.      Defendants are not entitled to discovery from Mr. Valdes, a non-party,
                regarding his personal financial affairs.




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        Defendants, as indicated by their Response, seek to depose Mr. Valdes regarding his

 personal business dealings and financial affairs. 8 This type of discovery is simply not permitted,

 and the Magistrate Judge committed clear error in failing to protect Mr. Valdes from this

 invasion of privacy.

        In Florida, individuals have an expectation of privacy over their personal financial

 records. See Ochoa v. Empresas ICA, S.A.B de C.V., No. 11–23898–CIV at *6 (S.D. Fla. Aug.8,

 2012); Winfield v. Div. of Pari–Mutuel Wagering, Dep't Bus. Regulation, 477 So.2d 544, 548

 (Fla.1985) (“[W]e find that the law in the state of Florida recognizes an individual's legitimate

 expectation of privacy in financial institution records.”); Rappaport v. Mercantile Bank, 17 So.3d

 902, 906 (Fla. 2d DCA 2009) (Finding that individuals in Florida have a constitutional right to

 privacy of their financial records); Woodward v. Berkery, 714 So.2d 1027, 1035 (Fla. 4th DCA

 1998) (finding that the constitution of the State of Florida contains an express right of privacy

 which includes personal financial records and information). Additionally, Mr. Valdes is a non-

 party, and as such, his status as a non-party should have been considered by the Magistrate Judge

 in ruling on the Motion. See Cytodyne Techs., Inc. v. Biogenic Techs., Inc., 216 F.R.D. 533, 535

 (M.D. Fla. 2003) (Finding that Rule 26(b) applies to discovery of non-parties and non-party

 status is considered by the court in weighing the burdens imposed in providing the requested

 discovery); See also Fadalla v. Life Auto. Products, Inc., 258 F.R.D. 501, 511 (M.D. Fla. 2007)

 (Granting non-party’s motion to quash to prevent disclosure of the non-party’s financial

 information).


 8
   Mr. Valdes, at the time he filed his Motion, was not aware that Defendant was seeking to
 depose him regarding his personal business dealings. Mr. Valdes was only made aware of this
 fact after Defendant filed its Response. Further, Defendant’s Response was filed less than 2 days
 prior to the hearing on Mr. Valdes’ Motion. As such, Mr. Valdes did not have an opportunity to
 raise this issue in his Motion or file a Reply to Defendant’s Response.
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        As referenced above, Defendants seek to depose Mr. Valdes and elicit testimony

 regarding his personal business dealings and his purchase of tax deeds from the Clerk of Court.

 Mr. Valdes unquestionably has a right to privacy under the Constitution of the State of Florida

 concerning his personal financial affairs. Further, he is a non-party to this lawsuit, and the

 pleadings indicate that Mr. Valdes’ personal financial affairs are not at issue. As such, the

 Magistrate Judge clearly erred when he denied Mr. Valdes’ Motion and failed to shield Mr.

 Valdes from testimony regarding his personal financial affairs.

        C.      The Magistrate Judge Failed to Perform Any Analysis Regarding the
                Requirement that Discovery Must Be Proportional to the Needs of the Case.

        The Magistrate Judge wholly failed to analyze any of the factors for determining if

 discovery is proportional to the needs of the case which include: a) “the importance of the issues

 at stake in the action;” b) “the amount in controversy;” c) “the parties' relative access to relevant

 information;” d) “the parties' resources;” and e) “the importance of the discovery, in resolving

 the issues, and whether the burden or expense of the proposed discovery outweighs its likely

 benefit.” See Fed. R. Civ. P., 26(b)(1). Had the Magistrate Judge analyzed the proportionality

 issues, a different conclusion would have been reached.

        A) “The importance of the issues at stake in the action.” This is a typical wrongful

 discharge discrimination case. It has no great public importance. This case is not precedent

 setting. As such, discovery should be limited to just the parties and the issues pled.

        B) “The amount in controversy.” Although the amount in controversy is not clear from

 the record but it does not appear to be a significant sum.

        C) “The parties' relative access to relevant information.” The Defendant already has

 access to any and all of the Plaintiffs’ prior employment records, employee files, performance


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 reviews, etc., which Mr. Greenberg presumably reviewed before deciding to terminate the

 Plaintiffs.   If Mr. Greenberg and the Defendant had a legitimate basis for terminating the

 Plaintiffs, then he can make the defense without Mr. Valdes’ testimony.

         D) “The parties' resources.” Mr. Valdes is an 82-year-old retiree living on a fixed

 income. In comparison, the Defendant has in house counsel and a large private law firm at its

 disposal. Defendant could easily obtain the information it seeks to elicit from Mr. Valdes by

 other means, including its own documents, interrogatories, and by deposing other individuals.

 Forcing Mr. Valdes to retain counsel for a deposition is not proportional to the needs of the case.

         E) “The importance of the discovery in resolving the issues and whether the burden

 or expense of the proposed discovery outweighs its likely benefit.” There is no importance in

 obtaining testimony from Mr. Valdes in this matter due to his lack of involvement and personal

 knowledge. Further, the burden placed upon Mr. Valdes in requiring him to testify clearly

 outweighs any likely benefit because it is obvious that the deposition is simply to harass Mr.

 Valdes and would not resolve any issues.

         The deposition of Mr. Valdes, therefore, is not legally relevant to any of the claims or

 defenses in this matter and not proportional to the needs of the case. This Court should protect

 Mr. Valdes by precluding, or at least limiting, the deposition of Mr. Valdes.

                                             Conclusion

         Mr. Valdes is a former high-ranking public official and is entitled to additional protection

 from harassing depositions (which is the only goal of the Defendant in this case). The Magistrate

 Judge failed to perform any analysis to determine whether the Defendant had satisfied its

 heightened burden of showing good cause to depose a former high ranking official. Further, the

 Magistrate Judge failed to analyze whether the Defendant could have obtained the information it
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 seeks from other sources. Instead, The Magistrate Judge simply accepted Defendant’s unsupported

 argument that Mr. Valdes has personal knowledge, which is not the proper standard when ruling on

 this type of Motion.

           Also, the Magistrate Judge failed to make a determination as to how Mr. Valdes testimony is

 relevant and proportional to the needs of the case. Instead, The Magistrate Judge simply found that

 Mr. Valdes has “personal knowledge.” The testimony Defendant seeks to elicit from Mr. Valdes

 has no bearing on the actual issues being litigated, and is simply another attempt for Mr. Greenberg

 to harass Mr. Valdes and allow this case to devolve into a political side show that is not proportion

 to the needs of the case. At a minimum, the Court is required to protect Mr. Valdes and the

 deposition must be limited as to scope, subject matter, time period and protections afforded to avoid

 any inquiry into Mr. Valdes’ personal financial affairs.

           WHEREFORE, Mr. Valdes respectfully requests that this Court reverse the Order

 Denying Mr. Valdes’ Motion for Protective Order (Doc. 36), enter an order protecting Mr.

 Valdes from testifying in this matter, and provide for any other relief as the Court deems just and

 proper.

           Dated: June 5, 2020.

                                                        Respectfully submitted,

                                                        /s/ Cameron S. Frye
                                                        BART R. VALDES
                                                        Florida Bar Number 323380
                                                        CAMERON S. FRYE
                                                        Florida Bar Number 105142
                                                        de Beaubien, Simmons, Knight,
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                                                      cfrye@dsklawgroup.com
                                                      Attorneys for Non-Party Ray Valdes

                      CERTIFICATE OF GOOD FAITH CONFERENCE

        On or about June 4, 2020, Cameron Frye, counsel for Mr. Valdes, had a conference with

 Chase Hattaway, counsel for the Defendant, to try to resolve the issues set forth in the Motion.

 The parties were unable to agree on the resolution of the issues set forth above.

                                                      /s/ Cameron S. Frye
                                                      CAMERON S. FRYE
                                                      Florida Bar Number 105142



                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been

 electronically furnished through the CM/ECF filing system to: Chase Ellis Hattaway, Esq., and

 Francis H. Sheppard, Esq., Rumberger, Kirk & Caldwell, PA, 300 S Orange Ave Ste 1400,

 Orlando, FL 32801, chattaway@rumberger.com, fsheppard@rumberger.com; Richard Douglas

 Sierra, Esq., Seminole County Tax Collector, 766 N Sun Dr., Suite 1090, Lake Mary, FL 32746,

 richard.sierra@seminolecounty.tax; Bertha L. Burruezo, Esq., Carlos Burruezo, Esq., Deborah

 Frimmel, Esq., Burruezo & Burruezo, PLLC, 911 Outer Rd., Orlando, FL 32814,

 bertha@burruezolaw.com., on this 5th June, 2020.


                                                      /s/ Cameron S. Frye
                                                      CAMERON S. FRYE
                                                      Florida Bar Number 105142




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